          IN THE UNITED STATES DISTRICT COURT FOR THE
               WESTERN DISTRICT OF NORTH CAROLINA
                       CHARLOTTE DIVISION

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )             3:01CR36
                              )             3:05CV25
          v.                  )
                              )
RAMON ANGEL GARCIA,           )         MEMORANDUM OPINION
                              )
               Defendant.     )
______________________________)


          This matter is before the Court for final disposition

of defendant’s motion filed pursuant to 28 U.S.C. § 2255 to

vacate, set aside or correct his sentence, accompanied by his

memorandum in support of his motion (Filing No. 1 in 3:05CV25).

On September 8, 2006, the Court entered an order finding that his

first, third and fourth grounds had already been addressed and

resolved on his direct appeal and, consequently, were not now

available in a motion filed pursuant to 28 U.S.C. § 2255 (See

Filing No. 12).

          The remaining issue was his claim of ineffective

assistance of counsel, and at defendant’s request, the Court

granted defendant additional time to file a reply to the

government’s response as it related to that issue.           That reply

has now been filed.   The Court has reviewed defendant’s claim

that he received ineffective assistance of counsel, the

government’s response, and the defendant’s responsive brief

(Filing No. 13).




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          The standard which the Court must apply is that set

forth in Strickland v. Washington, 466 U.S. 668, 687-88 (1984),

which requires that the defendant must show that his attorney’s

performance fell below an objective standard of reasonableness

and that such deficient performance was prejudicial.           Reviewing

this case, the Court finds that defendant’s trial counsel raised

all of the issues of which defendant now complains.           These claims

were duly considered by the Court in arriving at a decision as to

the appropriate sentence for the defendant.

          On appeal, new counsel was appointed.          That counsel

filed an Anders brief, raising one issue, and the defendant filed

a supplemental brief raising the other issues.         There is simply

nothing in the record that would support a finding that either of

these attorneys’ performance fell below the standards set by the

Supreme Court in the Strickland case, and certainly there is no

evidence that would suggest that the matters of which defendant

complains would have resulted in any different sentence than that

imposed by the Court.

          For the foregoing reasons, the Court finds that the

government’s motion for summary judgment (Filing No. 9) should be

granted and defendant’s motion filed pursuant to 18 U.S.C. § 2255




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be dismissed.   A separate order will be entered in accordance

with this opinion.

          DATED this 22nd day of November, 2006.

                                 BY THE COURT:

                                 /s/ Lyle E. Strom
                                 ______________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court




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